       Case 23-12146-mdc        Doc 35
                                     Filed 12/14/23 Entered 12/15/23 06:15:52                 Desc Main
                                     Document Page 1 of 1
                              UNITED STATES BANKRUTPCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       MARGARET DANIELS



                              Debtor                Bankruptcy No. 23-12146-MDC



                                                    ORDER

       AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E. West, Standing
Trustee, and after notice and hearing, it is hereby ORDERED that this case is DISMISSED and that any wage
orders previously entered are VACATED.

        IT IS FURTHER ORDERED if the case has been confirmed and the Trustee is holding funds, any
undisbursed funds held by the Chapter 13 Trustee from payments made on account of the Debtor(s)’ plan shall be
refunded to the Debtor(s) unless a party in interest files a Motion for Alternative Disbursement within 21 days of
the entry of this Order.


    Date 12/14/2023
                                               ______________________________
                                               Chief Honorable Magdeline D. Coleman
                                               Bankruptcy Judge
